                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO


  UNITED STATES OF AMERICA,
      Plaintiff

      v.                                                CIVIL NO.: 23-1392 (MDM)

  2018 BUGATTI CHIRON (VIN#:
  VF9SP3V34JM795083)
           Defendant In Rem.


              UNITED STATES OF AMERICA’S MOTION TO RESTRICT

TO THE HONORABLE COURT:

       COMES NOW, the United States to file this Motion to Restrict in compliance with

the Court’s Standing Order No. 9, dated January 30, 2013, and requests that the Motion

Submitting Affidavit be filed Selected Parties, as it contains sensitive information that

should remain confidential and under that restriction level until further order of the Court.

       RESPECTFULLY SUBMITTED.

       In San Juan, Puerto Rico, this 15th day of August 2024.

                                            W. Stephen Muldrow
                                            United States Attorney


                                            /s/Myriam Y. Fernández-González
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